                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )
      v.                       )    DOCKET NO. 1:20-cr-10271-DPW
                               )
CROMWELL, et. al.              )
            Defendant.         )
______________________________)


                             NOTICE OF APPEARANCE

       Now comes the undersigned counsel and hereby enters his appearance on behalf

of David DeQuattro, defendant in the above captioned matter.


                                                    Respectfully Submitted,
                                                    DAVID DEQUATTRO,
                                                    By His Attorney,


                                                    /s/ Martin G. Weinberg
                                                    Martin G. Weinberg, Esq.
                                                    Mass. Bar No. 519480
                                                    20 Park Plaza, Suite 1000
                                                    Boston, MA 02116
                                                    (617) 227-3700
                                                    owlmgw@att.net



Dated: December 8, 2020

                            CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, December 8, 2020, a copy
of the foregoing document has been served via Electronic Court Filing system on all
registered participants.


                                                    /s/ Martin G. Weinberg
                                                    Martin G. Weinberg, Esq.



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